 1           1.2      C.K.M. was a minor student enrolled at Bethel High School in the Bethel
 2   School District (“Bethel”) in Pierce County, Washington, under compulsion of the laws of the
 3
     State of Washington, including but not limited to RCW 28A.225 et seq.
 4
             1.3      Defendant Bethel is a public corporation organized under the laws of the State
 5
     of Washington and is authorized to be sued in such corporate capacity for its acts and those of
 6

 7
     its agents and employees. Defendant has its primary place of business in Pierce County,

 8   Washington, and is subject to the provisions of Title 28A of the Revised Code of Washington.

 9   At all times material, Defendant Bethel operated, and otherwise exercised control over, the
10   public schools within the school district, including Bethel High School, for the benefit of the
11
     school-aged children residing in the school district. Bethel is responsible for all conduct of
12
     agents and employees of Bethel with respect to the attendance of C.K.M. at school.
13
             1.4      At all relevant times, Defendant Bethel had supervision and control of C.K.M.
14

15   in loco parentis.

16           1.5      Defendant Thomas Siegel is and was, at all relevant times, the Superintendent

17   of Bethel when C.K.M.’s federal and constitutional rights were violated. Upon information
18
     and belief, Defendant Siegel had actual knowledge of the previous sexual abuse and sexual
19
     misconduct of transferring special needs student D.M. in or about Autumn, 2011.
20
             1.6      Defendant Robert Maxwell was, at all relevant times, the Director of Special
21
     Education Services for Bethel. Mr. Maxwell had discussions with Bethel’s General Counsel,
22

23   William Coats, about the previous sexual abuse and misconduct of transferring special needs

24   student D.M. in or about Autumn, 2011. As a result of these discussions, Mr. Maxwell had
25

26

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 1   actual knowledge of D.M.’s dangerousness regarding sexual harassment and sexual
 2   misconduct with fellow special needs students.
 3
             1.7      Defendant Nancy McKeeman was, at all relevant times, Bethel’s representative
 4
     with regard to the Individualized Education Plan (IEP) for special needs student D.M. Upon
 5
     information and belief, Defendant McKeeman had actual knowledge of the previous sexual
 6

 7
     abuse and sexual misconduct of transferring special needs student D.M. in or about Autumn,

 8   2011. Upon information and belief, Ms. McKeeman also had actual knowledge of on-going

 9   logs and observation records of D.M.’s continuing sexual harassment, sexual abuse and sexual
10   misconduct of C.K.M., as well as other students with special needs.
11
             1.8      Defendant Megan Nelson was, at all relevant times, an Education Coordinator
12
     for Bethel. Ms. Nelson had actual knowledge of the previous sexual abuse and sexual
13
     misconduct of transferring special needs student D.M. in or about Autumn, 2011. Upon
14

15   information and belief, Ms. Nelson also had actual knowledge of on-going logs and

16   observation records of D.M.’s continuing sexual harassment, sexual abuse and sexual

17   misconduct of C.K.M., as well as other students with special needs.
18
             1.9      Defendant Clifford Anderson was, at all relevant times, Principal of Bethel
19
     High School during the 2012-2013 school year. Mr. Anderson had actual knowledge of on-
20
     going logs and observation records of D.M.’s continuing sexual harassment, sexual abuse and
21
     sexual misconduct of C.K.M., as well as other students with special needs.
22

23           1.10     Defendant Tom Gifford was, at all relevant times, Vice Principal of Bethel

24   High School during the 2012-2013 school year. Mr. Gifford had actual knowledge of D.M.’s
25

26

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 1   continuing sexual harassment, sexual abuse and sexual misconduct against C.K.M., as well as
 2   other students with special needs.
 3
             1.11      Defendant Heidi Miller was, at all relevant times, Special Education Teacher at
 4
     Bethel High School during the 2012-2013 school year. Ms. Miller had actual knowledge of
 5
     D.M.’s continuing sexual harassment, sexual abuse and sexual misconduct against C.K.M., as
 6

 7
     well as other students with special needs.

 8           1.12      Defendants John/Jane Does 1-5 are officials, administrators, faculty and/or

 9   staff are individuals whose names and addresses are unknown but who had actual knowledge
10   of D.M.’s continuing sexual harassment, sexual abuse and sexual misconduct against C.K.M.
11

12                                II.     JURISDICTION AND VENUE

13           2.1       Plaintiffs are residents of Nye County, Nevada. Defendant Bethel is a public
14
     corporation doing business in Pierce County, Washington. Upon information and belief, the
15
     individually named defendants were all officers, agents and or employees of Defendant Bethel
16
     at all relevant times to this action and are believed to be residents of Washington State.
17

18           2.2       Jurisdiction and venue are proper in this Court. Venue lies within Pierce

19   County, Washington pursuant to RCW 4.12.025 in that the Defendant Bethel’s principal place

20   of business is Pierce County, Washington and the incidents at issue in this case occurred in
21   Pierce County, Washington.
22
             2.3       Plaintiffs submitted tort claim forms to the Bethel School District pursuant to
23
     RCW 4.96.020 and more than sixty (60) days have elapsed, thus conferring jurisdiction to the
24
     superior court.
25

26

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 1                                 III.      FACTUAL SUMMARY
 2
             3.1      At all relevant times, Plaintiff C.K.M. was a high school student with special
 3
     needs and multiple disabilities who attended Bethel High School, in Spanaway, Washington.
 4
             3.2      Because of her multiple disabilities, C.K.M. could not be left unsupervised as a
 5

 6   student at Bethel High School.

 7           3.3      On or about October 2012, C.K.M. was a student in the Bethel district when

 8   she was taken by the hand by another special needs, D.M., during physical education class.
 9
             3.4      C.K.M. was led by D.M. across the Bethel High School football field where
10
     C.K.M. was taken into a portable toilet and sexually abused.
11
             3.5      Upon information and belief, C.K.M. was sexually abused by D.M. at other
12
     times and locations all on Bethel High School grounds during school hours.3.6                          Known        to
13

14   Bethel but unbeknownst to L.K.M., J.M., or C.K.M., fellow special needs student D.M. had

15   an extensive history of sexual predation on children prior to sexually abusing C.K.M.

16           3.7      In Autumn 2011, D.M. was emergency expelled from neighboring Clover Park
17
     School District (“Clover Park”) for sexually assaulting another special needs classmate at
18
     Hudtloff Middle School.
19
             3.8      Following D.M.’s expulsion from Clover Park for sexual assault, D.M.’s
20
     mother transferred D.M. from Clover Park to Bethel.
21

22           3.9      Contemporaneous to D.M.’s transfer to Bethel, General Counsel for both

23   Clover Park and Bethel, William Coats, met with Bethel officials and administrators,
24   including but not limited to Bethel’s Special Education Services Director Robert Maxwell and
25
     Bethel Superintendent, Thomas Spiegel.
26

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 1           3.10     Upon information and belief, at that meeting(s) with Director Maxwell and
 2   Superintendent Siegel, Attorney Coats told Defendant Maxwell and/or Defendant Siegel that
 3
     D.M. had sexually abused and/or was accused of sexually abusing four (4) children while
 4
     enrolled as a student at Clover Park.
 5
             3.11     Upon information and belief, Attorney Coats also told Defendant Maxwell
 6

 7
     and/or Defendant Siegel that three (3) of those four children whom D.M. had abused and/or

 8   was accused of sexually abusing were fellow special needs students, all of whom were

 9   functioning at a cognitive level below D.M.
10           3.12     Upon information and belief, Attorney Coats also told Defendant Maxwell
11
     and/or Defendant Siegel that according to Clover Park, D.M. required constant one-on-one
12
     supervision at all times and that D.M.’s sexual misconduct was determined by Clover Park
13
     not to be a function of D.M.’s disability.
14

15           3.13     Upon information and belief, Attorney Coats also told Defendant Maxwell

16   and/or Defendant Siegel that based upon D.M.’s past history of sexual predation at Clover

17   Park, D.M. posed a substantial risk to other special needs students with whom he was in class.
18
             3.14     Following the expulsion of D.M. from Clover Park and his subsequent transfer
19
     to Bethel, Bethel representative Nancy McKeeman participated in the creation of an
20
     Individualized Education Plan (IEP) for special needs student D.M. Defendant McKeeman
21
     had actual knowledge of the previous sexual abuse and sexual misconduct of transferring
22

23   special needs student D.M. in or about Autumn, 2011, and Defendant McKeeman had actual

24   knowledge that D.M. posed a substantial risk to other special needs students with whom he
25   was in class.
26

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 1           3.15     Following the expulsion of D.M. from Clover Park and his subsequent transfer
 2   to Bethel, Bethel Education Coordinator Megan Nelson also participated in the creation of an
 3
     Individualized Education Plan (IEP) for special needs student D.M. Defendant Nelson had
 4
     actual knowledge of the previous sexual abuse and sexual misconduct of transferring special
 5
     needs student D.M. in or about Autumn, 2011, and Defendant Nelson had actual knowledge
 6

 7
     that D.M. posed a substantial risk to other special needs students with whom he was in class.

 8           3.16     Beginning in Autumn 2012, D.M. was placed in the Special Education class at

 9   Bethel High School with Special Education Teacher Heidi Miller. Ms. Miller had actual
10   knowledge of D.M.’s sexually predatory past. Ms. Miller also knew that Plaintiff C.K.M.
11
     functioned at an extremely low cognitive level and that C.K.M.’s cognitive function was
12
     significantly lower than D.M. Based upon her knowledge of D.M.’s past history of sexual
13
     misconduct and sexual predation, and based on her knowledge of C.K.M.’s low level of
14

15   cognitive function, Ms. Miller knew that D.M. posed a substantial risk to C.K.M. and other

16   similarly situated students in class with D.M.

17           3.17     Also in Autumn 2012, Defendant Miller and the paraeducators and aides in
18
     Ms. Miller’s class began keeping an observational log of D.M.’s sexual harassment, sexual
19
     abuse and sexual misconduct with other special needs students including C.K.M.
20
             3.18     For example on September 21, 2012, the log noted “[D.M.] tried to kiss
21
     [C.K.M.] during break time behind book shelf. They were directed that this is not OK at
22

23   school.”

24           3.19     On October 6, 2012, the log recorded “[D.M.] followed [C.K.M.] into
25   classroom bathroom, immediately removed by staff. Discussion of appropriate behavior and
26

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 1   bathroom rules was discussed with each student. During P.E. incident resulting in suspension
 2   occurred.”
 3
               3.20   On October 15, 2012, the log noted “[D.M.] trying his hardest to be with
 4
     [C.K.M.] by himself.”
 5
               3.21   On October 23, 2012, the log states, “[D.M.] attempted to get [C.K.M.] alone
 6

 7
     behind bookcase after lunch.      Was redirected to move into sight.                   Attempted to signal

 8   [C.K.M.] into bathroom after specialist. Students were separated. During 6th period students

 9   were separated.”
10             3.22   On October 31, 2012, the observational log noted that D.M. “Was sitting
11
     across from [C.K.M.] and [C.K.M.] pulled her shirt down to show him her chest. During 3rd
12
     period sat next to [C.K.M.], was redirected several times to move away kept moving back,
13
     was relocated to another area [,] 6th period touch [C.K.M.], said he was looking for the key
14

15   she took. Was redirected. No sub today.”

16             3.23   On November 1, 2012, “Tried to get behind bookcase with [C.K.M.] today was

17   directed to other side of portable. During P.E. attempted to get away from other students and
18
     staff to meet [C.K.M.] out by porta potty, was intercepted.”
19
               3.24   On December 10, 2012, the log reads, “Right after 4th hr. [C.K.M.] went to the
20
     bathroom and [D.M.] followed her in there. I told him that behavior was not appropriate and
21
     that he would need to stay by my side for the 5th hour.”
22

23             3.25   On December 14, 2012, the log noted, “After 5th period today on the way back

24   to class [D.M.] and slowed down to [end] the of the line and he and [C.K.M.] kissed each
25   other.”
26

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 1           3.26     The observational log contains note after note of sexual harassment and sexual
 2   misconduct by D.M. against C.K.M. and other special needs students in Ms. Miller’s special
 3
     education classroom.
 4
             3.27     During the 2012-2013 school year, Defendant Miller had actual knowledge
 5
     that D.M. required one-on-one supervision, knew that D.M. was continually sexually
 6

 7
     harassing C.K.M., but actively kept D.M. in the same classroom with C.K.M. and failed to

 8   stop D.M.’s sexual harassment and sexual misconduct.

 9           3.28     Defendant Miller notified Defendant Nelson, Bethel High School Principal
10   Clifford Anderson and Vice Principal Tom Gifford on the on-going sexual harassment and
11
     sexual misconduct by D.M. and the lack of a one-on-one supervisor to control D.M. and stop
12
     him from sexually harassing and/or sexually abusing C.K.M. and other special needs students
13
     in Ms. Miller’s special education classroom.
14

15           3.29     Despite actual knowledge of D.M.’s sexually harassing and sexually abusive

16   behaviors to C.K.M. and other special needs students in Ms. Miller’s special education

17   classroom, Defendants Nelson, Anderson and Gifford all actively kept D.M. in the same
18
     classroom with C.K.M. and other special education students without one-on-one supervision
19
     for D.M.
20
             3.30     Upon        information   and   belief,   John/Jane     Does          1-5        were           officials,
21
     administrators, faculty and/or staff who had actual knowledge of D.M.’s sexually predatory
22

23   past, knew that he posed a substantial risk of sexual abuse, sexual harassment and sexual

24   misconduct to C.K.M. and other special needs students, but actively kept D.M. in Ms. Miller’s
25   special education class without one-to-one supervision for D.M.
26

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 1           3.31     Despite knowledge of D.M.’s past sexually predatory past, Bethel and the
 2   individually named defendants, including but not limited to Defendant Tom Gifford, blamed
 3
     C.K.M. for the sexual assault and suspended her from school for the October 2012 portable
 4
     toilet incident. The individual defendants also blamed C.K.M. for the sexual harassment and
 5
     sexual misconduct by D.M.
 6

 7
             3.32     As a result of being sexually assaulted, sexual harassed and being subjected to

 8   sexual misconduct at Bethel High School by D.M., C.K.M. has suffered trauma and anxiety,

 9   experienced emotional outbursts, increasingly acted out sexually and engaged in self-injurious
10   behaviors.
11

12                                  IV.      CAUSES OF ACTION

13   A.      NEGLIGENCE -- ALL DEFENDANTS
14
             4.1      Plaintiffs incorporate by reference each and every allegation contained in this
15
     complaint above as if fully set forth herein. Plaintiffs L.K.M. and J.M. sent their then-minor,
16
     intellectually disabled child C.K.M. to Bethel, relying on the Defendant to provide a
17
     reasonably safe environment for the education of their child, and to protect their daughter’s
18

19   physical and mental well-being during school hours. At all times material, Defendant Bethel

20   assumed a duty of care for the safety and well-being of Plaintiff C.K.M., stood in loco
21   parentis to its pupils and as such had a duty to protect Plaintiff C.K.M. from assaults
22
     including sexual assaults while C.K.M. was on school grounds.
23
             4.2      Defendant Bethel had physical custody of Plaintiff C.K.M. during regular
24
     school hours at all times relevant, including the hours when Plaintiff was assaulted by minor
25

26

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 1   D.M. Defendant Bethel also had physical custody and control of student D.M., assuming a
 2   non-delegable duty to control him and prevent him from abusing other students. As such,
 3
     Defendant Bethel owed a duty to protect Plaintiff C.K.M. from physical harm, including
 4
     assaults, while on school grounds during regular school hours, as well as a duty to control
 5
     D.M. from harming C.K.M.
 6

 7
             4.3      Defendant Bethel breached their duty and was negligent in the supervision and

 8   the protection of its students, especially those with developmental disabilities, during school

 9   hours. Defendant Bethel failed to monitor students who it knew presented a risk of harm on
10   school grounds, including minor D.M.
11
             4.4      Defendant Bethel violated its statutory duty set forth in RCW 28A and
12
     elsewhere, in failing to maintain good order, safety, and discipline within the district.
13
             4.5      Defendant did not use reasonable care to protect students from harmful actions
14

15   of fellow students by failing to properly supervise and train its agents and employees, who

16   knew of past inappropriate behaviors by D.M. but failed to follow policies that had been

17   previously set in place.
18
             4.6      Defendant Bethel was an owner and operator of the premises commonly
19
     known as Bethel High School. Defendant Bethel did not maintain proper safety on the
20
     premises by failing to maintain proper security, monitor its students, and assess students who
21
     posed a risk of harm to others.
22

23           4.7      The above-mentioned acts and omissions by Defendant increased the risk of

24   harm to minors, and put them in a position of increased danger.
25

26

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 1           4.8      Defendant Bethel was grossly negligent, or in the alternative, negligent, in the
 2   supervision, control, protection, and care of the pupils entrusted to it, including but not limited
 3
     to, in failing to act with reasonable care to protect its children from harm and failing to train
 4
     its employees to recognize and prevent such harm from occurring.
 5
             4.9      The Defendant Bethel’s negligence and violation of its statutory duty were a
 6

 7
     proximate cause of injury and damage to Plaintiffs, including physical and mental pain,

 8   suffering, and anguish, and other treatment.

 9
     B.      VIOLATION OF WASHINGTON’S LAW AGAINST DISCRIMINATION
10           (WLAD), RCW 49.60 – ALL DEFENDANTS
11           4.10     Plaintiffs incorporate by reference each and every allegation contained in this
12
     complaint above as if fully set forth herein.          RCW 49.60 commonly referred to as
13
     Washington’s Law Against Discrimination or WLAD, and RCW 49.60.030 provides all
14
     individuals, including school students, to be free from discrimination because of sex or the
15

16   presence of any sensory, mental or physical disability.

17           4.11     Despite knowledge of the on-going sexual abuse, sexual harassment and sexual
18
     misconduct suffered by female, special needs student C.K.M. by special needs classmate
19
     D.M., the defendants failed to protect C.K.M. from further sexual harassment and
20
     discrimination.
21

22           4.12     This ongoing, pervasive sexual harassment of C.K.M. by D.M. with the full
23   knowledge of the defendants substantially interfered with C.K.M.’s right to an appropriate
24
     education free from discrimination, including but not limited to sexual harassment.
25

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 1           4.13     C.K.M. was discriminated against by the defendants because of her gender and
 2   her mental and physical disabilities, in that the defendants allowed the sexual harassment to
 3
     continue unabated, and continued to place sexually harassing student D.M. in the same
 4
     classroom with C.K.M. despite knowledge of the pervasive sexual harassment and sexual
 5
     misconduct of D.M. Upon information and belief, a similarly situated, typically functioning
 6

 7
     male student would not have been subjected to the same sexual harassment as that endured by

 8   C.K.M. at Bethel High School.

 9
     C.      VIOLATION OF C.K.M.’S CIVIL RIGHTS UNDER THE FOURTEENTH
10           AMENDMENT AND ENFORCED BY 42 U.S.C. § 1983 – DEFENDANTS
             SIEGEL, MAXWELL, McKEEMAN, NELSON, ANDERSON, GIFFORD,
11
             MILLER AND JOHN/JANE DOES 1-5.
12
             4.14     Plaintiffs incorporate by reference each and every allegation contained in this
13
     complaint above as if fully set forth herein. Under the Fourteenth Amendment’s Due Process
14
     clause, Plaintiff C.K.M. has a right to be free from sexual abuse, sexual harassment and
15

16   sexual misconduct which was caused by a “state-created” danger.

17
             4.15     In this case, Defendants Siegel, Maxwell, McKeeman, Nelson, Anderson,
18
     Gifford, Miller and John/Jane Does 1-5 all participated in affirmative conduct which placed
19
     Plaintiff C.K.M. in danger and each individual defendant did so with deliberate indifference
20
     to a known or obvious danger.
21

22           4.16     Specifically Defendants Siegel, Maxwell, McKeeman, Nelson, Anderson,
23
     Gifford, Miller and John/Jane Does 1-5 had actual knowledge that special needs student D.M.
24
     was a sexual predator who was a particular threat to children functioning at a lower cognitive
25

26

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 1   level than himself. Defendants Siegel, Maxwell, McKeeman, Nelson, Anderson, Gifford,
 2   Miller and John/Jane Does 1-5 also knew that D.M. required close, one-to-one supervision at
 3
     all times in order to protect fellow special needs students.           Despite this knowledge,
 4
     Defendants Siegel, Maxwell, McKeeman, Nelson, Anderson, Gifford, Miller and John/Jane
 5
     Does 1-5 affirmatively placed D.M. in a special education classroom at Bethel High School
 6

 7
     without close supervision and without one-to-one supervision. Further, Defendants Siegel,

 8   Maxwell, McKeeman, Nelson, Anderson, Gifford, Miller and John/Jane Does 1-5 exposed

 9   C.K.M., and the other students in the Bethel High School special needs classroom, to D.M.
10   without close supervision and one-on-one supervision with full knowledge that known and
11
     obvious danger posed by D.M.
12

13
             4.17     As a direct and proximate result of Defendants Siegel, Maxwell, McKeeman,

14   Nelson, Anderson, Gifford, Miller, and John/Jane Does 1-5 actively placing D.M. in a special

15   education classroom at Bethel High School without close supervision and one-on-one
16   supervision, C.K.M. was sexually abused and sexually harassed by D.M.
17
             4.18     In addition, Defendants Siegel, Maxwell, McKeeman, Nelson, Anderson,
18

19
     Gifford, Miller and John/Jane Does 1-5 had actual knowledge through the observation logs

20   kept of D.M.’s behavior in Heidi Miller’s Bethel High School Special Education class that

21   C.K.M. and other students were suffering from sexual abuse, sexual harassment and sexual
22   misconduct by D.M. over the course of the 2012-2013 school year.
23
             4.19     Despite actual knowledge of on-going sexual abuse, sexual harassment and
24

25
     sexual misconduct by D.M. against C.K.M., Defendants Siegel, Maxwell, McKeeman,

26

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 1   Nelson, Anderson, Gifford, Miller and John/Jane Does 1-5 acted with deliberate indifference
 2   by doing nothing to effectively stop D.M. or protect C.K.M., including but not limited to
 3
     providing ensuring that D.M. always had a mandatory one-to-one supervisor as required by
 4
     D.M.’s IEP, failing to report incidents of sexual harassment and sexual misconduct to law
 5
     enforcement or child protective services and failing to remove D.M. (or C.K.M.) from the
 6

 7
     same classroom when they knew they were not protecting C.K.M. from the continuing

 8   abusive conduct by D.M.

 9
             4.20     As a direct and proximate result of Defendants Siegel, Maxwell, McKeeman,
10
     Nelson, Anderson, Gifford, Miller, and John/Jane Does 1-5 actively placing D.M. in a special
11
     education classroom at Bethel High School despite knowledge of on-going sexual abuse,
12

13
     sexual harassment and sexual misconduct by D.M. against C.K.M., C.K.M. continued to

14   suffer the effects of on-going sexual harassment and abuse.

15
     D.      VIOLATION OF C.K.M.’S CIVIL RIGHTS UNDER THE FOURTEENTH
16           AMENDMENT AND ENFORCED BY 42 U.S.C. § 1983 UNDER MONELL–
             DEFENDANT BETHEL
17

18           4.21     Plaintiffs incorporate by reference each and every allegation contained in this

19   complaint above as if fully set forth herein. Defendant Bethel is liable for its execution of

20   policies, customs and practices, as well as for its actions in failing to adequately train,
21
     monitor, or supervise its agents and employees to ensure the safety of its students, including
22
     C.K.M.
23

24           4.22     These failures by Defendant Bethel were a moving force behind the sexual

25   abuse, sexual harassment and sexual misconduct suffered by C.K.M.

26

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 1           4.23     As illustrated above, these failures occurred at Bethel’s highest levels,
 2   including its Superintendent and its Director of Special Education, and the on-going nature of
 3
     Bethel turning a blind eye to both the substantial risked posed by D.M. to other special needs
 4
     students and the actual knowledge of on-going sexual abuse, sexual harassment and sexual
 5
     misconduct by D.M. against C.K.M. and other students with special needs was done with
 6

 7
     deliberate indifference to the wellbeing and safety of Plaintiff C.K.M., and done in violation

 8   of the Due Process clause of the Fourteenth Amendment in violation of 42 U.S.C. § 1983.

 9
     E.      VIOLATION OF C.K.M.’S RIGHTS UNDER TITLE IX AND SECTION 1983
10           THROUGH THE EQUAL PROTECTION CLAUSE– ALL DEFENDANTS
11           4.24     Plaintiffs incorporate by reference each and every allegation contained in this
12
     complaint above as if fully set forth herein. Bethel and the individual defendants are liable
13
     under both Title IX for its actions in creating and perpetuating the sexually harassing and
14
     hostile school environment.
15

16           4.25     Plaintiff C.K.M. has the right to bring an action against the school district for
17   its violations of Title IX of the Education Amendments of 1972, 20 U.S.C. § 1681(a) because
18
     Bethel and its officials had actual knowledge of the sexual abuse, sexual harassment and
19
     sexual misconduct by D.M. against C.K.M. and other special needs students in the Bethel
20
     High School special education class.
21

22           4.26     Because Bethel failed to take immediate, effective remedial steps to resolve the
23   sexual harassment in spite of its actual knowledge of the abuse, and instead acted with
24
     deliberate indifference toward Plaintiff C.K.M. and other similarly situated student.
25

26

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 1           4.27     The result of Bethel’s deliberate indifference toward the sexual harassment
 2   suffered by C.K.M. was to exclude her from participation in, being denied the benefits of, and
 3
     being subjected to discrimination in Bethel’s education program, in violation of Title IX.
 4
             4.28     Plaintiffs incorporate by reference each and every allegation contained in this
 5

 6   complaint above as if fully set forth herein.          Under Fitzgerald v. Barnstable School

 7   Committee, 55 U.S. 246 (2009), the United States Supreme Court held that Title IX does not
 8   preclude a concurrent claim for Equal Protection violations under 42 U.S.C. 1983, including
 9
     in the peer harassment context. This is because while Title IX only covers institutions and not
10
     individuals, the 1983 remedy allows plaintiffs to sue individual defendants unless immunity
11
     applies.
12

13           4.29     Here, Bethel and individual Defendants Siegel, Maxwell, McKeeman, Nelson,
14   Anderson, Gifford, Miller and John/Jane Does 1-5 had actual knowledge of both the
15
     substantial risk posed by D.M. to other students with special needs and actual knowledge of
16
     pervasive sexual abuse, sexual harassment and sexual misconduct by D.M. against C.K.M.
17

18           4.30     Upon information and belief, each of these individual defendants above had

19   the authority to take corrective action in response to the pervasive sexual harassment and
20   sexual misconduct suffered by C.K.M. but responded with deliberate indifference.
21
             4.31     In addition, Bethel violated the Equal Protection Clause in its practice of
22
     failing to enforce its policies on peer-to-peer sexual harassment in its special education
23

24   classroom at Bethel High School.

25

26

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 1           4.32     The violations of C.K.M.’s rights to be free from sexual harassment and sexual
 2   abuse by all defendants was unconstitutional discrimination based on C.K.M.’s gender and
 3
     her mental and physical disabilities.
 4

 5                                          V.       DAMAGES

 6
             5.1      As a result of Defendant’s tortious acts and omissions, Plaintiff C.K.M.
 7
     experienced mental and emotional suffering during and after the sexual assaults. This claim is
 8
     brought on behalf of Plaintiffs L.K.M., J.M. and C.K.M. for general and special damages
 9
     arising out of assaults and failure to protect and supervise on this case. These damages include
10

11   the pain and suffering, anxiety, emotional distress, and humiliation that Plaintiff C.K.M. has

12   suffered and will continue to endure for years to come. This claim is also brought for
13   Plaintiffs L.K.M. and J.M. who have suffered damages from emotional distress and derivative
14
     injuries from the damage to the parent-child relationship, compensable injuries codified in
15
     statute at RCW 4.24.010.
16
             5.2      In addition, as a result of the defendants’ violations of Plaintiff C.K.M.’s
17

18   statutory rights under RCW 49.60 (WLAD), C.K.M. experienced mental and emotional

19   distress, and a loss to the full benefits of Bethel’s education program.

20           5.3      As a result of the defendants’ violations of her federal statutory and
21   constitutional rights, Plaintiff C.K.M. has suffered mental and emotional distress and a loss to
22
     the full benefits of Bethel’s education program.
23

24                                      VI.       JURY DEMAND
25
             6.1      Plaintiffs demand a trial by jury on all issues so triable.
26

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 1                                 VII.     PRAYER FOR RELIEF
 2
             WHEREFORE, Plaintiffs pray for judgment against the Defendant as follows:
 3
             1.       For such general and special damages as will be proven at the time of trial,
 4
     with interest thereon;
 5

 6           2.       Plaintiffs’ reasonable costs and attorneys’ fees incurred in maintaining this

 7   action as allowed by RCW 49.60;

 8           3.       Plaintiffs costs and attorneys’ fees as allowed by 42 U.S.C. § 1988, Title IX
 9
     and all other applicable bases for an award of attorneys’ fees and costs’
10
             4.       Punitive damages as allowed by 42 U.S.C. § 1983 and under any other
11
     provision of law for which punitive damages may be awarded;
12
             5.       Pre and post-judgment interest as applicable; and
13

14           6.       Such other and further relief as this Court deems just and equitable under the

15   circumstances of this case.

16           DATED this 27th day of April, 2018.
17
                                            PFAU COCHRAN VERTETIS AMALA, PLLC
18

19                                          By
                                                 Loren A. Cochran, WSBA No. 32773
20                                               loren@pcvalaw.com
                                                 Nicholas B. Douglas, WSBA No. 49786
21                                               cole@pcvalaw.com
                                                 Attorney for Plaintiffs
22

23                                               4821-7443-6623, v. 1

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 1                                      DECLARATION OF SERVICE
 2
             I, Kim Snyder, hereby declare under penalty of perjury under the laws of the State of
 3
     Washington that I am employed at Pfau Cochran Vertetis Amala PLLC, and that on today’s
 4
     date I served the foregoing via Email by directing delivery to the following individuals:
 5

 6

 7           Jerry J. Moberg
             Jerry J. Moberg & Associates
 8           124 Third Avenue SW
             Ephrata, WA 98823
 9

10           SENT VIA EMAIL

11

12                            DATED this 27th day of April, 2018.

13

14

15
                                                          Kim Snyder
16                                                        Legal Assistant
17

18

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